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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

__________________________________________
                                                    )
JASON LEOPOLD, et al.,                              )
                                                    )
               Plaintiffs,                          )
                                                    )
               vs.                                  )      1:15-cv-00999 (APM)
                                                    )
NATIONAL SECURITY AGENCY, et al.,                   )
                                                    )
               Defendants.                          )
                                                    )

                                  JOINT STATUS REPORT

       Plaintiffs Jason Leopold and Alexa O’Brien (collectively “Plaintiffs”) and Defendants

United States National Security Agency (“NSA”), United States Department of Homeland

Security (“DHS”), United States Department of Justice (“DOJ”), United States Department of

Defense (“DOD”), Central Intelligence Agency (“CIA”), and United States Department of State

(“DOS”) (collectively “Defendants”), by and through their undersigned counsel, respectfully

submit the following joint status report pursuant to the Court’s Order of January 20, 2016 (ECF

No. 14).

       On August 9, 2015, Plaintiffs filed an Amended Complaint (ECF No. 6) related to 18

different Freedom of Information Act (“FOIA”) requests sent to 19 Defendant agencies or

components thereof. 1 According to the Amended Complaint, the FOIA requests focus on Jacob



1
 The 19 Defendant agencies and components that are subject to these requests are the NSA,
DHS-Cybersecurity and Infrastructure Agency (formerly National Protection and Programs
Directorate), DHS-Privacy Office, DHS-Office of Policy, DHS-Science and Technology
Directorate, DHS-Transportation Security Administration, DHS-Office of Operations
Coordination, DHS-Office of Intelligence and Analysis, DHS-United States Secret Service,
DHS-U.S. Customs and Border Protection, DHS-U.S. Immigration and Customs Enforcement,
DHS-U.S. Citizenship and Immigration Services, DOJ-Federal Bureau of Investigation, DOJ-


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Appelbaum, “an American security expert and journalist.” Am. Compl. ¶29. The requests,

however, seek a total of 288 separate categories of records. Over the course of several months,

the parties met and conferred, and Plaintiffs agreed to withdraw three of the original requests and

to clarify and narrow the scope of certain other requests to records of most interest to Plaintiffs.

       Currently, fifteen agency components have completed their processing of Plaintiffs’

FOIA requests: (1) DHS-U.S. Immigration and Customs Enforcement; (2) DHS-Cybersecurity

and Infrastructure Security Agency (formerly National Protection and Programs Directorate);

(3) DHS-Science and Technology Directorate, (4) DHS-Office of Intelligence and Analysis;

(5) DHS-Office of Operations Coordination; (6) DHS-Transportation Security Administration;

(7) DHS-U.S. Citizenship and Immigration Services; (8) DHS-U.S. Customs and Border

Protection; (9) DHS-United States Secret Service; (10) DOD-Army; (11) DOD-Defense

Intelligence Agency; (12) DOJ-Criminal Division; (13) NSA, (14) the Federal Bureau of

Investigation and (15)Department of State. 2

       The Central Intelligence Agency believes that it may have completed its processing of

Plaintiffs’ FOIA requests. It is reviewing its responses to confirm the status.

       The DOJ-National Security Division believes that it has completed processing of

Plaintiffs’ requests except for records requiring interagency review.

       DHS Headquarters component offices (which include DHS Policy and DHS Privacy

Office) continue to review the potentially responsive records identified in their search. Upon

review, many of these records (which totaled over 375GB) were not responsive. Rather than



Criminal Division, DOJ-National Security Division, DOD-United States Army, DOD-Defense
Intelligence Agency, CIA, and DOS.
2
  Agency components in this group may need to process additional records if they receive
referrals from other agencies for direct release to Plaintiffs or are asked to consult or coordinate
with other agencies that are processing Plaintiffs’ requests.


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having DHS continue to spend time reviewing records that are not responsive, the parties are

engaged in discussions on ways to narrow the request.

       In addition, some records have been referred to the Executive Office for United States

Attorneys (“EOUSA”) for direct release to Plaintiffs. EOUSA has completed its processing of

those records.

       Defendants that have not already completed their processing of Plaintiffs’ FOIA requests

will continue to process Plaintiffs’ FOIA requests in accordance with the Court’s order of

January 20, 2016.


Dated: September 3, 2019

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